Case 2:07-cr-20099-JWL-DJW           Document 913       Filed 05/25/12      Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
              v.                                    )      Case No. 07-20099-JWL
                                                    )
MAYRA GANDARA ESCARCEGA,                            )
                                                    )
                      Defendant.                    )
                                                    )



                           MEMORANDUM AND ORDER

       On February 3, 2012, the court denied defendant Mayra Gandara Escarcega’s

Motion for Retroactive Application of Sentencing Guidelines on the merits (doc.898).

       For the reasons set forth in that Memorandum and Order, Ms. Gandara Escarcega

is ineligible for relief pursuant to 18 U.S.C. § 3582(c)(2). As the facts establish that the

defendant is ineligible for relief, the court is without jurisdiction to consider a reduction

of sentence under § 3582(c). United States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir.

2007) (Where the Amendment did not subsequently lower the defendant’s Guideline

range, the district court has no jurisdiction to consider a modification to his sentence

under 18 U.S.C. § 3582(c)(2)). As such, the court’s prior Order is amended nunc pro

tunc to dismiss the defendant’s Motion for Retroactive Application of Sentencing

Guidelines for lack of jurisdiction.
Case 2:07-cr-20099-JWL-DJW            Document 913     Filed 05/25/12   Page 2 of 2




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

for Modification of Retroactive Application of Sentencing Guidelines (doc. 888) is

dismissed for lack of jurisdiction.



       IT IS SO ORDERED this 25th day of May, 2012.


                                      s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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